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                                      EXHIBIT A

                                     Proposed Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

FTX TRADING LTD., et al., 1                                Case No. 22-11068 (JTD)

         Debtors.                                          (Jointly Administered)

                                                           Ref No. __


              ORDER SUSTAINING DEBTORS’ FOURTH (NON-SUBSTANTIVE)
                   OMNIBUS OBJECTION TO CERTAIN DUPLICATE
                      PROOFS OF CLAIMS (CUSTOMER CLAIMS)

                     Upon the fourth omnibus objection (the “Objection”) 2 of FTX Trading Ltd. and

its affiliated debtors and debtors-in-possession (collectively, the “Debtors”), for entry of an order

(this “Order”) sustaining the Objection and disallowing and expunging in their entirety the

Duplicate Claims set forth in Schedule 1 attached hereto, and this Court having jurisdiction to

consider the Objection pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware, dated February

29, 2012; and this Court being able to issue a final order consistent with Article III of the United

States Constitution; and venue of these Chapter 11 Cases and the Objection in this district being

proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core proceeding pursuant

to 28 U.S.C. § 157(b); and this Court having found that proper and adequate notice of the



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number
    are 3288 and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases,
    a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
    provided herein. A complete list of such information may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.ra.kroll.com/FTX. The principal place of business of
    Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill
    Road, St. John’s, Antigua and Barbuda.
2
    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the
    Objection.


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Objection and the relief requested therein has been provided in accordance with the Bankruptcy

Rules and the Local Rules, and that, except as otherwise ordered herein, no other or further

notice is necessary; and responses (if any) to the Objection having been withdrawn, resolved or

overruled on the merits; and a hearing having been held to consider the relief requested in the

Objection and upon the record of the hearing and all of the proceedings had before this Court;

and this Court having found and determined that the relief set forth in this Order is in the best

interests of the Debtors and their estates; and that the legal and factual bases set forth in the

Objection establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor;

                     IT IS HEREBY ORDERED THAT:

                     1.   The Objection is SUSTAINED as set forth herein.

                     2.   Each Duplicate Claim set forth in Schedule 1 attached hereto is disallowed

and expunged in its entirety. The claims listed in the column titled “Surviving Claims” identified

on Schedule 1 attached hereto shall remain on the claims register, subject to the Debtors’ further

objections on any substantive or non-substantive grounds.

                     3.   This Order has no res judicata, estoppel, or other effect on the validity,

allowance, or disallowance of, and all rights to object to or defend on any basis are expressly

reserved with respect to any Duplicate Claims referenced or identified in the Objection that is not

listed on Schedule 1 attached hereto.

                     4.   Should one or more of the grounds of objection stated in the Objection be

dismissed, the Debtors’ right to object on any other grounds that the Debtors discover are

preserved.




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                     5.   To the extent a response is filed regarding any Duplicate Claim, each such

Duplicate Claim, and the Objection as it pertains to such Duplicate Claim, will constitute a

separate contested matter as contemplated by Bankruptcy Rule 9014. This Order will be deemed

a separate order with respect to each Duplicate Claim. Any stay of this Order pending appeal by

any claimants whose claims are subject to this Order shall only apply to the contested matter

which involves such claimant and shall not act to stay the applicability and/or finality of this

Order with respect to the other contested matters listed in the Objection or this Order.

                     6.   The Debtors are authorized and empowered to execute and deliver such

documents, and to take and perform all actions necessary to implement and effectuate the relief

granted in this Order.

                     7.   Nothing in this Order or the Objection is intended or shall be construed as

a waiver of any of the rights the Debtors may have to enforce rights of setoff against the

claimants.

                     8.   Nothing in the Objection or this Order, nor any actions or payments made

by the Debtor pursuant to this Order, shall be construed as: (a) an admission as to the amount of,

basis for, or validity of any claim against the Debtors under the Bankruptcy Code or other

applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right

to dispute any claim; (c) a promise or requirement to pay any particular claim; (d) an implication

or admission that any particular claim is of a type specified or defined in this Order; (e) an

admission as to the validity, priority, enforceability, or perfection of any lien on, security interest

in, or other encumbrance on property of the Debtors’ estates; or (f) a waiver of any claims or

causes of action which may exist against any entity under the Bankruptcy Code or any other

applicable law.


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                     9.    This Order is immediately effective and enforceable, notwithstanding the

possible applicability of Bankruptcy Rule 6004(h) or otherwise.

                     10.   This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Objection or the implementation of this Order.

 Dated: ___________________
        Wilmington, Delaware                              The Honorable John T. Dorsey
                                                          United States Bankruptcy Judge




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                                     SCHEDULE 1

                               Customer Duplicate Claims




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                                                                                    Duplicate Claims
                                                                                      Schedule 1
                                                                                       Customer
                                   CLAIMS TO BE DISALLOWED                                                                      SURVIVING CLAIMS

                                DATE                                                CLAIM                            DATE                                               CLAIM
        CLAIMANT                FILED              DEBTOR                CLAIM #   AMOUNT           CLAIMANT         FILED              DEBTOR               CLAIM #   AMOUNT

1   NAME ON FILE                06/08/23       22-11068 (JTD)              2355     Undetermined* NAME ON FILE       06/28/23   22-11068 (JTD)                3868     Undetermined*
    ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



2   NAME ON FILE                07/13/23       22-11068 (JTD)              5698    $11,228,700.00 NAME ON FILE       06/23/23   22-11068 (JTD)                2873     $11,228,700.00
    ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



3   NAME ON FILE                03/22/23       22-11068 (JTD)              1395      $173,856.30 NAME ON FILE        03/14/23   22-11068 (JTD)                1246       $173,856.30
    ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



4   NAME ON FILE                12/22/22       22-11068 (JTD)              211         $4,295.25 NAME ON FILE        12/22/22   22-11068 (JTD)                 207          $4,295.25
    ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



5   NAME ON FILE                02/27/23       22-11068 (JTD)              1041       $64,802.00 NAME ON FILE        02/27/23   22-11068 (JTD)                1034        $64,802.00
    ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



6   NAME ON FILE                06/23/23       22-11071 (JTD)              2145        $8,000.00 NAME ON FILE        06/22/23   22-11071 (JTD)                2142          $8,000.00
    ADDRESS ON FILE                            West Realm Shires                                ADDRESS ON FILE                 West Realm Shires Services
                                               Services Inc.                                                                    Inc.


7   NAME ON FILE                06/05/23       22-11068 (JTD)              2012       $45,483.80 NAME ON FILE        06/01/23   22-11068 (JTD)                2006        $45,483.80
    ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



8   NAME ON FILE                01/18/23       22-11068 (JTD)              423        $20,843.82* NAME ON FILE       12/20/22   22-11068 (JTD)                 171       $20,843.82*
    ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.




    *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                           1
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                                                                                     Duplicate Claims
                                                                                       Schedule 1
                                    CLAIMS TO BE DISALLOWED                             Customer                                 SURVIVING CLAIMS

                                 DATE                                                CLAIM                            DATE                                         CLAIM
         CLAIMANT                FILED              DEBTOR                CLAIM #   AMOUNT           CLAIMANT         FILED             DEBTOR          CLAIM #   AMOUNT

9    NAME ON FILE                03/17/23       22-11068 (JTD)              1269      $282,705.18 NAME ON FILE        03/15/23   22-11068 (JTD)          1254       $282,705.18
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



10   NAME ON FILE                11/16/22       22-11068 (JTD)               5      $11,690,000.00 NAME ON FILE       11/16/22   22-11068 (JTD)            2      $11,690,000.00
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



11   NAME ON FILE                01/23/23       22-11068 (JTD)              589        $20,217.13 NAME ON FILE        01/23/23   22-11068 (JTD)           588        $20,217.13
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



12   NAME ON FILE                12/20/22       22-11149 (JTD)              225           $960.96 NAME ON FILE        12/20/22   22-11149 (JTD)           168           $960.96
     ADDRESS ON FILE                            FTX US Trading, Inc.                             ADDRESS ON FILE                 FTX US Trading, Inc.



13   NAME ON FILE                06/12/23       22-11068 (JTD)              2039       $33,813.80 NAME ON FILE        06/06/23   22-11068 (JTD)          2023        $33,813.80
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



14   NAME ON FILE                04/12/23       22-11068 (JTD)              1634       $14,400.00 NAME ON FILE        04/11/23   22-11068 (JTD)          1580        $14,400.00
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



15   NAME ON FILE                05/30/23       22-11068 (JTD)              1990     $4,217,720.42 NAME ON FILE       05/08/23   22-11068 (JTD)          1851      $8,435,440.84
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



16   NAME ON FILE                03/03/23       22-11068 (JTD)              1083     Undetermined* NAME ON FILE       02/28/23   22-11068 (JTD)          1048     Undetermined*
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.




     *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                     2
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                                                                                     Duplicate Claims
                                                                                       Schedule 1
                                                                                        Customer
                                    CLAIMS TO BE DISALLOWED                                                                      SURVIVING CLAIMS

                                 DATE                                                CLAIM                            DATE                                     CLAIM
         CLAIMANT                FILED              DEBTOR                CLAIM #   AMOUNT           CLAIMANT         FILED             DEBTOR      CLAIM #   AMOUNT

17   NAME ON FILE                02/23/23       22-11068 (JTD)              970      Undetermined* NAME ON FILE       02/23/23   22-11068 (JTD)       969     Undetermined*
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



18   NAME ON FILE                02/27/23       22-11068 (JTD)              1036       $11,414.92 NAME ON FILE        02/02/23   22-11068 (JTD)       708        $11,414.92
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



19   NAME ON FILE                01/11/23       22-11068 (JTD)              461        $115,281.00 NAME ON FILE       01/10/23   22-11068 (JTD)       380       $115,281.00
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



20   NAME ON FILE                03/20/23       22-11068 (JTD)              1381          $147.45 NAME ON FILE        03/20/23   22-11068 (JTD)      1296           $147.45
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



21   NAME ON FILE                02/28/23       22-11068 (JTD)              1076        $4,227.70 NAME ON FILE        02/27/23   22-11068 (JTD)      1043         $4,227.70
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



22   NAME ON FILE                06/07/23       22-11068 (JTD)              2027        $4,000.00 NAME ON FILE        12/05/22   22-11068 (JTD)       51          $8,000.00
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



23   NAME ON FILE                06/10/23       22-11068 (JTD)              2812        $1,199.68 NAME ON FILE        06/03/23   22-11068 (JTD)      2542         $1,199.68
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.



24   NAME ON FILE                03/17/23       22-11068 (JTD)              1279     $1,379,961.90 NAME ON FILE       03/15/23   22-11068 (JTD)      1238     $1,379,961.90
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                 FTX Trading Ltd.




     *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                3
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                                                                                     Duplicate Claims
                                                                                       Schedule 1
                                                                                        Customer
                                    CLAIMS TO BE DISALLOWED                                                                               SURVIVING CLAIMS

                                 DATE                                                CLAIM                                      DATE                                    CLAIM
         CLAIMANT                FILED              DEBTOR                CLAIM #   AMOUNT            CLAIMANT                  FILED            DEBTOR      CLAIM #   AMOUNT

25   NAME ON FILE                03/14/23       22-11068 (JTD)              1249       $32,226.03 NAME ON FILE                 03/13/23   22-11068 (JTD)      1199       $32,226.03
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                          FTX Trading Ltd.


                                                                                                 Transferred to: Azure Tide
                                                                                                 Holdings PTE Ltd. as
                                                                                                 Transferee of Name on
                                                                                                 file
                                                                                                 ADDRESS ON FILE




26   NAME ON FILE                01/06/23       22-11068 (JTD)              361        $11,900.00* NAME ON FILE                01/06/23   22-11068 (JTD)       353      $11,900.00*
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                          FTX Trading Ltd.



27   NAME ON FILE                06/23/23       22-11068 (JTD)              2591       $5,000.00* NAME ON FILE                 05/16/23   22-11068 (JTD)      1924        $5,000.00
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                          FTX Trading Ltd.



28   NAME ON FILE                01/25/23       22-11068 (JTD)              681        $548,451.23 NAME ON FILE                01/25/23   22-11068 (JTD)       677     $548,451.23
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                          FTX Trading Ltd.



29   NAME ON FILE                01/23/23       22-11068 (JTD)              561        $25,424.23 NAME ON FILE                 12/20/22   22-11068 (JTD)       172       $25,424.23
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                          FTX Trading Ltd.



30   NAME ON FILE                07/10/23       22-11166 (JTD)              5655          $575.75 NAME ON FILE                 06/28/23   22-11166 (JTD)      3969        $1,151.50
     ADDRESS ON FILE                            FTX EU Ltd.                                      ADDRESS ON FILE                          FTX EU Ltd.




     *Indicates claim contains unliquidated and/or undetermined amounts                                                                                                        4
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                                                                                     Duplicate Claims
                                                                                       Schedule 1
                                                                                        Customer
                                    CLAIMS TO BE DISALLOWED                                                                     SURVIVING CLAIMS

                                 DATE                                                CLAIM                            DATE                                    CLAIM
         CLAIMANT                FILED              DEBTOR                CLAIM #   AMOUNT           CLAIMANT         FILED            DEBTOR      CLAIM #   AMOUNT

31   NAME ON FILE                04/10/23       22-11068 (JTD)              1578       $67,256.99 NAME ON FILE       06/22/23   22-11068 (JTD)      3109        $67,256.99
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                FTX Trading Ltd.



32   NAME ON FILE                05/15/23       22-11068 (JTD)              1905     Undetermined* NAME ON FILE      06/09/23   22-11068 (JTD)      2264     Undetermined*
     ADDRESS ON FILE                            FTX Trading Ltd.                                 ADDRESS ON FILE                FTX Trading Ltd.




     *Indicates claim contains unliquidated and/or undetermined amounts                                                                                               5
